 Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 1 of 37 Page ID #:678




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9
10
11                        UNITED STATES DISTRICT COURT

12                      CENTRAL DISTRICT OF CALIFORNIA

13
14   BREONNAH FITZPATRICK,                          CASE NO. 21-CV-06841-JGB-SP
15   CHRISTOPHER OFFICER, and TIMOTHY
     McCARTHY, individuals and as class
16   representatives,                               DEFENDANTS’ REQUEST FOR
                                                    JUDICIAL NOTICE IN SUPPORT
17                       Plaintiff,                 OF MOTION TO DISMISS
18         vs.                                      PLAINTIFFS’ SECOND
                                                    AMENDED COMPLAINT
19   CITY OF LOS ANGELES, a municipal
20   corporation; CITY OF LOS ANGELES               [Filed concurrently with Notice of
     DEPARTMENT OF TRANSPORTATION, a                Motion; Motion to Dismiss; and
21   public entity; LOS ANGELES POLICE
     DEPARTMENT, a public entity; GENERAL           [Proposed] Order]
22   MANAGER SELETA REYNOLDS, an
     individual; BRIAN HALE, CHIEF-                 Hearing
23   PARKING ENFORCEMENT & TRAFFIC
     CONTROL, individually and in their             Date: August 1, 2022
24   official capacities; and DOES 1 through 10,    Time: 9:00 a.m.
     in their individual and official capacities,   Courtroom 1
25                      Defendants.
26
27
28   DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION
          TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
 Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 2 of 37 Page ID #:679




1          TO THIS HONORABLE COURT AND TO ALL PARTIES AND THEIR
2    COUNSEL:
3          PLEASE TAKE NOTICE THAT pursuant to Federal Rules of Evidence, Rule
4    201, Defendants City of Los Angeles, Seleta Reynolds, and Brian Hale respectfully
5    request that the Court take judicial notice of the following exhibits in support of their
6    Motion to Dismiss Plaintiffs’ Second Amended Complaint:
7          •      Los Angeles Municipal Code § 80.55, a true and correct copy of which is
8                 attached as Exhibit A.
9          •      Los Angeles Municipal Code § 80.55.1, a true and correct copy of which
10                is attached as Exhibit B.
11         •      Los Angeles Municipal Code § 80.56, a true and correct copy of which is
12                attached as Exhibit C.

13         •      Los Angeles Municipal Code § 80.70, a true and correct copy of which is

14                attached as Exhibit D.
           •      The ruling from the United States District Court for the Northern District
15
                  of California, Le v. Dep’t of Parking & Traffic of San Francisco, Case
16
                  No. C 04-03432 CRB, 2005 U.S. Dist. LEXIS 1224 (N.D. Cal. Jan. 21,
17
                  2005), a true and correct copy of which is attached as Exhibit E.
18
           •      A webpage from the Los Angeles Department of Transportation website,
19
                  titled, “Community Assistance Parking Program Information,” as of June
20
                  27, 2022, available at https://ladotparking.org/operations-support/capp-
21
                  info/, a true and correct copy of which is attached as Exhibit F.
22
           •      A webpage from the Los Angeles Department of Transportation website,
23
                  titled, “Installment Payment Plan (IPP),” as of June 27, 2022, available at
24                https://prodpci.etimspayments.com/pbw/include/laopm/ticket_ipp.htm, a
25                true and correct copy of which is attached as Exhibit G.
26         •      The City of Los Angeles Application For An Installment Payment Plan,
27
                                                 1
28
     DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION
          TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
 Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 3 of 37 Page ID #:680




1                 available at
2                 https://prodpci.etimspayments.com/pbw/include/laopm/ipp_income_guide
3                 lines.pdf, a true and correct copy of which is attached as Exhibit H.
4          •      Los Angeles City Charter, § 500, a true and correct copy of which is
5                 attached as Exhibit I.
6          •      Los Angeles Administrative Code, § 22.480, a true and correct copy of

7                 which is attached as Exhibit J.

8    The content of these Los Angeles Municipal Code sections and documents on

9    government websites may be judicially noticed under Fed. R. Evid. § 201 as it can be

10   accurately and readily determined from sources whose accuracy cannot reasonably be

11   questioned. Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998-99 (9th Cir. 2010)

12   (“It is appropriate to take judicial notice of this information, as it was made publicly

13   available by government entities. . . and neither party disputes the authenticity of the

14   web sites or the accuracy of the information displayed therein.”); Santa Monica Food

15   Not Bombs v. City of Santa Monica, 450 F.3d 1022, 1025, n.2 (9th Cir. 2006) (judicial

16   notice of city ordinances is proper); Bassilios v. City of Torrance, 166 F.Supp.3d 1061,

17   1065, n.1 (C.D. Cal. 2015) (taking judicial notice of municipal code).

18
     Dated: June 29, 2022          Respectfully submitted,
19
                                   MICHAEL N. FEUER, City Attorney
20                                 SCOTT MARCUS, Chief Assistant City Attorney
21                                 GABRIEL S. DERMER, Assistant City Attorney
                                   JOSEPH S. PERSOFF, Deputy City Attorney
22
23                                 By: /s/ Joseph S. Persoff
                                      Joseph S. Persoff
24                                    Deputy City Attorney
25                                    Attorneys for Defendants
26
27
                                                 2
28
     DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION
          TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 4 of 37 Page ID #:681




                         EXHIBIT A
   Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 5 of 37 Page ID #:682
     SEC. 80.55. DEPARTMENT MAY PROHIBIT STOPPING OR PARKING AT CERTAIN DESIGNATED
     LOCATIONS.
 (Amended by Ord. No. 134,523, Eff. 7/17/67.)

 (a) The Department shall prohibit the stopping or parking of vehicles on any of the following places:

         1. Any place where the stopping or parking of vehicles is determined by the Department to constitute a hazard to traffic, life or
       property, or an obstruction to vehicular or pedestrian passage;

        2. Any place, within 30 feet of an intersection in any business district, except that a bus may stop at a designated bus stop:

         3. Any place within 25 feet of the approach to the nearest line of a crosswalk, except that a bus may stop at a designated bus
       stop, but not within five feet of said nearest line of a crosswalk;

         4. Any place with 25 feet of any traffic signal, stop sign or other official electrical flashing device, except that a bus may stop
       at a designated bus stop, but not within five feet of any traffic signal, stop sign or official electrical flashing device. (Former
       Subdiv. 4 Deleted and Former Subdiv. 5 Renumbered by Ord. No. 177,716, Eff. 9/4/06.)

         5. Any place within 15 feet of any “yield” sign, except that a bus may stop at a designated bus stop. (Former Subdiv. 6
       Renumbered by Ord. No. 177,716, Eff. 9/4/06.)

         6. Upon any street or portion thereof contiguous to the frontage of any elementary school, junior or senior high school where it
       is determined that parking will create a hazard to life and property, or a serious obstruction to vehicles or pedestrian passage.
       (Former Subdiv. 7 Renumbered by Ord. No. 177,716, Eff. 9/4/06.)

        EXCEPTION:

                Authorized school buses owned by or under contract with the Board of Education or operated by or through recognized
              parochial school systems are excepted from the provisions of this subdivision when loading or unloading during school
              days and hours when approved by the Department.

         7. At any designated bus stop. (Added by Ord. No. 152,426, Eff. 6/29/79; Former Subdiv. 8 Renumbered by Ord. No.
       177,716, Eff. 9/4/06.)

        8. Upon a bridge. (Added by Ord. No. 184,316, Eff. 6/11/16.)

        EXCEPTION:

                The Department of Transportation is authorized pursuant to this Section to install signs that permit parking on bridges
              that the Department has determined are structurally capable of supporting parked vehicles, and have sidewalks and
              shoulders of sufficient width to permit parking without interfering with the normal movement of traffic. Parking shall not
              be permitted until signs are installed containing any time or other restrictions that may apply.

  (b) The department shall designate such places by appropriate signs or markings, and no person shall thereafter stop or park any
vehicle at such place.
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 6 of 37 Page ID #:683




                         EXHIBIT B
    Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 7 of 37 Page ID #:684
     SEC. 80.55.1. STOPPING, STANDING, OR PARKING WITHIN 15 FEET OF A DRIVEWAY USED BY
     EMERGENCY VEHICLES.
 (Added by Ord. No. 186,219, Eff. 8/12/19.)

   (a) No person shall stop, park, or leave standing a vehicle, whether attended or unattended, except as necessary to avoid conflict with
other traffic or in compliance with the directions of a peace officer or official traffic control device, within 15 feet of a driveway that is
used by an emergency vehicle owned or operated by the Los Angeles Police Department, an ambulance service care provider, or general
acute care hospital, to enter or exit a police station, ambulance service provider facility, or general acute care hospital. This section does
not apply to any vehicle owned or operated by LAPD, LAFD, an ambulance service provider, or general acute care hospital if the vehicle
is clearly marked as a police vehicle, fire department vehicle, ambulance, or general acute care hospital vehicle.

  (b) The Department of Transportation shall install appropriate curb markings or "KEEP CLEAR" pavement markings and post signs
that delineate the area specified in Subsection (a).

  (c) Penalties. A violation of this section shall be a civil fine in the amount of $68; with late penalty $136; with second late penalty
$161.
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 8 of 37 Page ID #:685




                           EXHIBIT C
    Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 9 of 37 Page ID #:686
       SEC. 80.56. ESTABLISHMENT OF PASSENGER, COMMERCIAL, SHORT TIME LIMIT, AND “NO STOPPING”
       CURB ZONES.

  (a) The Department is hereby authorized to install passenger loading zones at those locations where the Department determines that
hazards would thereby be reduced, access to property improved, or impedance to traffic reduced. (Amended by Ord. No. 134,523, Eff.
7/17/67.)

  (b) The Department of Transportation (Department) is authorized to install commercial loading zones at locations where it determines
that hazards would be reduced, access to property improved, and impedance to traffic reduced. In addition, the Department is authorized
to install, operate, and regulate Zero-Emission Vehicle (ZEV) Commercial Loading Zones for the exclusive use and access by zero-
emission commercial delivery vehicles, including, but not limited to, light electric freight vehicles. For purposes of this subsection, ZEV
means a vehicle that produces no emissions of criteria pollutants, toxic air contaminants, and greenhouse gases when stationary or
operating, as determined by the California Air Resources Board. For purposes of this section, Light Electric Freight Vehicle (LEFV)
means an electric bike, moped, or compact vehicle with electric assistance or drive mechanism, designed for the distribution of
commercial freight, goods, or parcels, capable of a maximum speed of 28 miles per hour. LEVF's include electric cargo bikes (E-Cargo
Bikes), with two or more wheels, designed to carry up to a maximum of 770 pounds for the delivery of commercial freight, goods, or
parcels. (Amended by Ord. No. 187,117, Eff. 8/7/21.)

  (c) The Department is hereby authorized to install short-time parking limit zones at those locations where it determines that access to
property would be improved or a more equitable distribution of available curb space would be obtained. Additionally, the Department is
authorized to prescribe the longer of the two periods of time provided for below in Subsection (e)3, if it finds that factors exist which
reasonably constitute an impediment to the utilization of nearby services and facilities within the shorter period of time. (Amended by
Ord. No. 161,733, Eff. 12/11/86.)

  (d) The Department shall install red “No Stopping” zones or signs reading “No Stopping Any Time” at places where the stopping of
vehicles is prohibited under Section 80.55 of this Code. (Amended by Ord. No. 134,523, Eff. 7/17/67.)

  (e) Time Limits for All Zones. The time limits and effective hours of passenger loading zones, short-time parking limit zones, "No
Stopping" zones, and commercial loading zones shall be as follows: (Amended by Ord. No. 180,092, Eff. 9/7/08.)

         1. No person shall stop, stand or park a vehicle in any passenger loading zone except for the purpose of loading or unloading
       passengers and their personal baggage and then only for the time necessary therefor, and in no event for more than five minutes,
       except for a maximum of ten minutes where signs indicating a ten minute limit are posted. Such passenger loading zones shall be
       in effect during all times unless limited to specified hours and/or days by posted signs. Vehicles may be towed when passenger
       loading zone signs include notice that vehicles may be removed. (Amended by Ord. No. 182,484, Eff. 4/28/13)

          2. No person shall stop, stand or park a vehicle in a commercial loading zone, except that commercial vehicles may stop or
       stand for the purpose of loading or unloading freight for the time necessary therefor, but not to exceed 30 minutes, except as
       provided in Section 88.01.1 of this chapter. Passenger vehicles may stop or stand for the purpose of loading or unloading
       passengers and their personal baggage, and then only for the time necessary therefor but in no event for more than five minutes.
       Such commercial loading zones shall be in effect during the hours and on the days indicated by posted signs, or if none, between
       the hours of 7:00 a.m. and 6:00 p.m. on any day except Sunday. (Amended by Ord. No. 187,117, Eff. 8/7/21.)

         Exception: ZEV Commercial Loading Zone. No person shall stop, stand or park a vehicle, commercial or otherwise, in a
       ZEV Commercial Loading Zone designated for the exclusive use by zero-emission commercial delivery vehicles. However, a
       zero-emission commercial delivery vehicle also may stop, stand or park in a Commercial Loading Zone. A commercial delivery
       vehicle in either zone, shall stop, stand or park only for the purpose of loading or unloading freight, goods, or parcels for the time
       necessary to do so, but not for a period exceeding 30 minutes, except in a ZEV Commercial Loading Zone for a maximum of one
       hour where signs indicating a one hour limit are posted, and except as provided in Section 88.01.1 of this chapter. ZEV
       Commercial Loading Zones shall be in effect during the hours and on days indicated by posted signs, or if none, between the
       hours of 7:00 a.m. and 6:00 p.m. (Added by Ord. No. 187,117, Eff. 8/7/21.)

          3. No person shall stop, stand or park a vehicle in any short-time parking limit zone for a period of time longer than that
       indicated by posted signs or curb markings. Such time limit shall be fifteen minutes unless the Department determines, pursuant
       to Subsection (c) above, that the public welfare requires a longer period, in which latter case the time limit shall be thirty minutes.
       Such time limits shall be in effect during the hours and on the days indicated by posted signs, or if none, between the hours of
       8:00 o'clock A.M. and 6:00 o'clock P.M. on any day except Sunday.

          4. No person shall stop, stand or park a vehicle at any time in any red "No Stopping" zone or portion of street posted with
       signs reading "No Stopping Any Time", except that a bus may stop in such zone or portion of street marked or sign posted as a
       bus stop. Such "No Stopping" zones shall be in effect during all times unless limited to specified hours and/or days by posted
       signs.

 (f) Markings for Zones.

         1. Passenger Loading zones when designated by painted curbs shall be white and stenciled “Passenger Loading Only.”

                 (a) White curb zones may also be stenciled “Mailbox Deposit Only” when designated for this purpose.
 Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 10 of 37 Page ID #:687

         2. Commercial Loading Zones when designated by painted curbs shall be YELLOW and stenciled “Loading Only.”
       (Amended by Ord. No. 111,487, Eff. 6/28/58.)

         3. Short-time Parking Limit Zone when designated by painted curbs shall be GREEN and stenciled “15 Minutes Limit” or
       “30 Minute Limit,” as provided by Subsection (c) and Subdivision (3) of Subsection (e) of this section. (Amended by Ord. No.
       161,733, Eff. 12/11/86.)

         4. “No Stopping” Zones when designated by painted curbs shall be RED.

         5. Official signs using above standard colors and legends may be posted by the Department in lieu of painting the curbs.
       (Amended by Ord. No. 134,523, Eff. 7/17/67.)

The 30 day period of Penal Code Section 1382 does not begin to run as of the date a citation is placed upon an illegally parked car.
People v. Miller (1954) CR A 3178.
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 11 of 37 Page ID #:688




                         EXHIBIT D
   Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 12 of 37 Page ID #:689
     SEC. 80.70. PARKING PROHIBITED OR LIMITED IN ANTI-GRIDLOCK ZONES.
 (Added by Ord. No. 177,753, Eff. 9/8/06.)

  (a) Whenever, with reference to any Major Highway or portion of a Major Highway, the Department determines that traffic demand
between 6:00 a.m. and 7:00 p.m. on weekdays requires the use of the curb lane as an additional, continuous lane for through-traffic in
order to avoid gridlock, it shall be unlawful for any person to park, stand or stop a vehicle in an Anti-Gridlock Zone, other than for
emergency repairs or activities authorized by the City pursuant to permits issued for these activities, during these hours and days as are
indicated on signs. The Department of Transportation shall determine and identify those streets in the City of Los Angeles that comprise
Anti-Gridlock Zones, and shall install and maintain signs giving notice of the Zone.

  (b) The Department of Transportation is authorized to include notice, on any sign that prohibits the stopping or parking of vehicles in
an Anti-Gridlock Zone during certain hours and days, that vehicles parked or left standing in violation of the sign may be removed.

 (c) The provisions of Section 88.01.1 of this chapter are not applicable to signs erected pursuant to this section.
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                         EXHIBIT E
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 14 of 37 Page ID #:691



                   Le v. Dep't of Parking & Traffic of San Francisco
            United States District Court for the Northern District of California
                   January 21, 2005, Decided ; January 24, 2005, Filed
                                   No. C 04-03432 CRB
Reporter
2005 U.S. Dist. LEXIS 1224 *
HAI T LE, Plaintiff, v. DEPT OF                hereby GRANTS defendant's motion to
PARKING AND TRAFFIC OF SAN                     dismiss.
FRANCISCO, Defendant.

Disposition: Defendant's motion to dismiss BACKGROUND
granted.                                       In his First Amended Complaint (FAC)
                                               plaintiff alleges that on February 8, 2003,
Counsel: [*1] For Hai T. Le, Plaintiff: Pro
                                               the Warfield Theater was holding an event,
se, San Francisco, CA.
                                               and parking on streets near the theater had
For Department of Parking & Traffic of San been restricted. Plaintiff, not seeing the "No
Francisco, Defendant: Philip A. Leider, San Parking" sign, parked in one of these
Francisco, CA.                                 spaces, and was issued a parking ticket. Mr.
                                               Le saw the parking officer writing the
Judges: CHARLES R. BREYER, UNITED
                                               ticket, and threatened to file a federal
STATES DISTRICT JUDGE.
                                               lawsuit against him. Plaintiff then moved
Opinion by: CHARLES R. BREYER                  the car to another parking [*2] space
                                               nearby. Later, the officer returned with a
Opinion                                        tow truck and driver. The driver attached
                                               the car to the truck and lifted it from the
                                               ground. Plaintiff confronted the driver and
MEMORANDUM AND ORDER                           asked him not to tow the car. Failing in
                                               those efforts, plaintiff then entered his car,
Plaintiff pro se Hai T. Le brings this action turned the wheels, and set the parking brake.
to recover relief for alleged damages arising During the incident, the car's steering
out of an attempt by the San Francisco column was damaged. After the parking
Department of Parking to tow his car. Now officer ordered him from the car, plaintiff
before the Court is defendant's motion to then returned home and called 911. Two
dismiss for failure to state a claim and for police officers appeared soon thereafter and
lack of jurisdiction. Plaintiff also moves for spoke briefly with the parking officer. The
summary judgment. After carefully parking officer and the tow truck driver
reviewing the papers submitted by the departed, leaving the car in the middle of
parties and conducting a hearing, the Court
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 15 of 37 Page ID #:692
                                                                                   Page 2 of 5
                                  2005 U.S. Dist. LEXIS 1224, *2

the street and embarrassing plaintiff.        towing plaintiff's car, in violation of the
                                              Fourth Amendment's prohibition of
                                              unreasonable seizures. All other potential
DISCUSSION                                    claims are either redundant or purely based
The FAC states the several claims for relief: on state law.
(1) Malicious Act; (2) Abuse of Procedural
Due Process; (3) Abuse of Process; (4) [*4]
Extortion; (5) Extortion; (6) Extortion; (7)
Discrimination; (8) Use of Excessive Force; Plaintiff's two claims with respect to
(9) Trespass; (10) Subject or Cause Subject procedural due process both fail as a matter
to Deprivation of Privileges; (11) Failure to of law.
Give Equal Protection of the Law; (12)
Violation of 42 USC § 1983; (13) Malicious Plaintiff first claims that the City's action in
Act to Deprive Constitutional Rights and towing his car without notice violates his
Privileges; (14) Violation of Fourth right to due process. A claim of a
Amendment [*3] to the Constitution -- deprivation of property in violation of the
                                              constitutional right to procedural due
Seizure without Due Process.
                                              process is evaluated pursuant to the standard
The complaint may be read to make federal articulated by the Supreme Court in
claims under 42 U.S.C. § 1983 based on Mathews v. Eldridge, 424 U.S. 319, 333, 47
violations of several constitutional rights. L. Ed. 2d 18, 96 S. Ct. 893 (1976). "To
Causes of action one, two, three, nine and determine what procedures are required, we
ten appear to argue that when defendant balance the competing government and
towed plaintiff's car without giving him private interests." Scofield v. City of
notice that he violated a statute, his Hillsborough, 862 F.2d 759, 762 (9th Cir.
constitutional right to procedural due 1988) (citing Mathews, 424 U.S. at 334).
process was violated. Causes of action four,
                                              Several courts have discussed the question
five, six and thirteen may be read as arguing
                                              of whether notice or a hearing is required
that the City's issuance of a fine for the
                                              prior to towing of an illegally parked car.
parking citation, coupled with the state's
                                              All have reached the same result: no notice
threat to suspend his car's registration for
                                              or hearing is required. Scofield, 862 F.2d at
nonpayment, also constitutes a violation of
his procedural due process rights. Causes of 762-64 (9th Cir. 1988) (citing with approval
action seven and eleven argue that, in cases from the Fourth, Fifth, Seventh,
towing Mr. Le's car, defendant was Eighth, and D.C. Circuits, which all held
discriminating against plaintiff on the basis that no notice or hearing was required prior
of race, in violation of his constitutional to towing an illegally parked car, and
right to equal protection. Causes of action holding that no notice or hearing was
eight and fourteen may be read as claiming required [*5] in the analogous situation of
that defendant used excessive force in towing an unregistered vehicle). Moreover,
                                              even if it were plaintiff's contention that his
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 16 of 37 Page ID #:693
                                                                                      Page 3 of 5
                                   2005 U.S. Dist. LEXIS 1224, *5

car was not illegally parked, his right to a       implementing parking regulations [and]
post-towing hearing under California               detering future transgressions." Id. at 763
Vehicle Code § 22852 adequately protects           (citation omitted).
his right to procedural due process. Id. at
764 ("Such procedures ensure that any
erroneous deprivation of an owner's vehicle        II. Equal Protection
will be slight, and satisfies due process          A plaintiff alleging denial of equal
concerns." (citations omitted)).                   protection under 42 U.S.C. § 1983 based on
Plaintiff's second procedural due process          race or another suspect classification must
claim is that his due process rights were          plead intentional unlawful discrimination or
violated when the city fined him for parking       otherwise allege facts that are susceptible of
at an expired meter and subsequently               an inference that defendant acted with a
enforced the fine by threatening suspension        discriminatory intent. Monteiro v. Tempe
of his registration. See California Vehicle        Union High School Dist., 158 F.3d 1022,
Code § 4760. Plaintiff contends that               1026 (9th Cir. 1998). To state a claim for
suspension of his registration is tantamount       relief, the plaintiff must allege that the
to a deprivation of his "right" to drive. This     defendant [*7] state actor acted at least in
claim, too, is not novel. Courts taking up         part because of plaintiff's membership in a
similar issues, and conducting an in-depth         protected class. Serrano v. Francis, 345
analysis under Mathews have found that the         F.3d 1071, 1081-82 (9th Cir. 2003).
suspension of the privilege to drive without       However, as with any § 1983 claim, a
a hearing does not, under these                    plaintiff must make more than "vague and
circumstances, violate due process. See,           conclusory" assertions that "aim[] in the
e.g., Pempek v. Edgar, 603 F. Supp. 495,           general direction of the federal Constitution
500 (D. Ill. 1984) (suspension of drivers'         with buckshot" in order to survive a motion
 [*6] license due to unpaid parking tickets        to dismiss under Rule 12(b)(6). Buckey v.
does not violate due process, even where no        County of Los Angeles, 968 F.2d 791, 794
hearing is afforded).                              (9th Cir. 1992) cert. denied, 506 U.S. 999,
                                                   121 L. Ed. 2d 536, 113 S. Ct. 599, 113 S.
Moreover, if it is plaintiff's contention that     Ct. 600 (1992).
California Vehicle Code § 4760, which
provides for enforcement of parking fines          Plaintiff claims in his complaint that, "the
through     registration     suspension,      is   defendant never thinks one person like the
unconstitutional, this claim also fails. Just as   plaintiff would be able to resist the
Scofield held that an unregistered vehicle         defendant's power and authority . . .
may be towed to further the government's           therefore, the plaintiff, as minority, is
interest in enforcement of the registration        vulnerable to this type of violation
laws, Scofield, 862 F.2d at 764-65, so too         committed by local government agencies."
may the government suspend a registration          FAC P 90.
to further the "valid purpose [of]                 In the context of this case, these statements
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 17 of 37 Page ID #:694
                                                                                        Page 4 of 5
                                   2005 U.S. Dist. LEXIS 1224, *7

are not sufficient to state a claim under §            that were not initially pled. Vague and
1983. Plaintiff has only brought suit against          conclusory allegations of official
the City and County of San Francisco, and              participation in civil rights violations are
has not named the individual officers as               not sufficient to withstand a motion to
defendants. See Plaintiff's Opposition at p. 8         dismiss.
(stating that "the City is the appropriate
                                                   Ivey v. Board of Regents of University of
defendant"). Therefore, plaintiff must allege
                                                   Alaska, 673 F.2d 266, 268 (9th Cir. 1982).
a deprivation [*8] of the plaintiff's rights by
                                                   Furthermore, the plaintiff's allegations must
a government policy or custom. See Monell
                                                   be "supported by reference to . . . specific
v. New York City Dep't of Soc. Servs., 436
                                                   actions, practices, or policies of the . . .
U.S. 658, 694, 56 L. Ed. 2d 611, 98 S. Ct.
                                                   defendants." Id. Here, defendant has only
2018 (1978). Evidently, the thrust of Mr.
                                                   made      "conclusory       allegations"    of
Le's argument is that the City, acting in
                                                   discrimination, without pointing to any
pursuit of illegitimate financial gain, sets a
                                                   specific actions of the City that might prove
quota for the issuance of parking tickets
which parking officers enforce or else "they       such an intent. See id. (dismissing because
would be fired." See FAC P 7; Opposition at        the complaint was "devoid of specific
p. 8. In contrast, his claims regarding race       factual allegations showing the . . .
discrimination are aimed at the specific           defendants' participation in the alleged
parking officer that attempted to have his         discriminatory . . . practice."). Accordingly,
                                                   his claims for relief based on equal
car towed. See FAC PP 90-91. Because the
                                                   protection must be dismissed.
FAC lacks any allegation that the City
maintained a policy or custom that caused
his car to be towed, plaintiff's equal             III. Excessive Force
protection claim must be dismissed.
                                                   Plaintiff's claim for excessive force also
Even if the complaint could somehow be             fails as a matter of law. Even assuming that
read as alleging some policy or practice, it       a Fourth Amendment violation can be made
still must be dismissed because plaintiff has      out where the force is solely used against
not pled any facts that could reasonably           plaintiff's property, rather than plaintiff's
support an inference that discrimination           person,     the    seizure    of    plaintiff's
played a role in his car being towed.              property [*10] would still be proper if the
As stated by the Ninth Circuit:                    use of force was "objectively reasonable"
                                                   under the circumstances. see Jackson v. City
   The standard used to evaluate a motion          of Bremerton, 268 F.3d 646, 651 (2001)
   to dismiss is a liberal one, particularly       (citing Graham v. Connor, 490 U.S. 386,
   when the action has been filed pro se . . .     397, 104 L. Ed. 2d 443, 109 S. Ct. 1865
   However, a liberal interpretation of a          (1989)). Here all the city did was to attempt
   civil rights complaint [*9] may not             to tow plaintiff's car. Any damage resulting
   supply essential elements of the claim          from that attempt is purely the fault of
 Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 18 of 37 Page ID #:695
                                                                                                  Page 5 of 5
                                                    2005 U.S. Dist. LEXIS 1224, *10

plaintiff, who admits that he turned the January 21, 2005, it is hereby ordered that
wheels and set the parking brake while the judgment be entered in favor of Defendant
car was being towed. 1                     and against Plaintiff.
 [*11] Accordingly, this claim, too, is IT IS SO ORDERED.
dismissed.
                                        Dated: January 21, 2005
                                                                          CHARLES R. BREYER
CONCLUSION
                                                                          UNITED STATES DISTRICT JUDGE
Defendant's motion to dismiss for lack of
jurisdiction and for failure to state a claim
                                                                           End of Document
are GRANTED. Plaintiff's motion for
summary judgment and defendant's other
motions are therefore moot.
Because no federal claims remain in this
action, and because the Court declines to
exercise supplemental jurisdiction over any
of plaintiff's potential state law claims, see
28 U.S.C. § 1367(c)(3), this order disposes
of plaintiff's case in its entirety.
IT IS SO ORDERED.
Dated: January 21, 2005
CHARLES R. BREYER
UNITED STATES DISTRICT JUDGE


JUDGMENT
The Court having granted defendant's
motion to dismiss by an Order dated

1 The FAC also makes allegations that the police used force against
plaintiff when he was arrested on September 8, 1999. FAC PP 48-50.
However, even if this claim were made a part of plaintiff's excessive
force claim, which it was not, it would still be time-barred. See Silva
v. Crain, 169 F.3d 608, 610 (9th Cir. 1999) (Section 1983 statute of
limitations is borrowed either from state's limitations period for
personal injury actions or from residual statute); Cal. Civ. Proc.
Code § 335.1 (two-year statute of limitations for personal injury
actions); Cal. Civ. Proc. Code § 340(3) (one-year residual statute of
limitations).
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 19 of 37 Page ID #:696




                         EXHIBIT F
6/27/22,Case
        2:13 PM2:21-cv-06841-JGB-SP                             Document  71-2
                                                                   Community        Filed
                                                                             Assistance     06/29/22
                                                                                        Parking            Page 20
                                                                                                Program Information     of 37 Page ID #:697
                                                                                                                    - LADOT




        OPERATIONS & SUPPORT DIVISION



        Community Assistance Parking
        Program Information
        LADOT » Operations & Support » Community Assistance Parking Program Information




        CAPP Info




                                                    The City of Los Angeles’s Community Assistance Parking Program (CAPP) was created
                                                    to assist homeless individuals with open or unpaid parking citations, by allowing him/her
                                                    to pay in the form of community service. The Los Angeles City Council authorized the

https://ladotparking.org/operations-support/capp-info/                                                                                          1/3
6/27/22,Case
        2:13 PM2:21-cv-06841-JGB-SP                      Document  71-2
                                                            Community        Filed
                                                                      Assistance     06/29/22
                                                                                 Parking            Page 21
                                                                                         Program Information     of 37 Page ID #:698
                                                                                                             - LADOT

                                             Los Angeles Department of Transportation (LADOT) to establish CAPP on February 14,
                                             2017.

                                             Participants of CAPP must provide a proof of completion form to the City of Los Angeles
                                             upon completion of service hours. To estimate how many hours are required for a fine
                                             click here.

                                             For more information email us at Ladot.capp@lacity.org or call (213) 978-4400.

                                                     What is CAPP?


                                                     CAPP stands for the Community Assistance Parking Program. This program is
                                                     administered by the Los Angeles Department of Transportation and was
                                                     approved by the City Council on February 14, 2017 to allow homeless individuals
                                                     do community service in lieu of paying for a parking citation.


                                                     Can I participate in the program if I’m not homeless, but I am
                                                     considered low-income?


                                                     Do all citations qualify under the CAPP Program?


                                                     My vehicle has been towed/booted. Can I apply for CAPP?


                                                     Can I contest my citation by calling CAPP?


                                                     What is the maximum number of citations for which I can perform
                                                     community service in one year?


                                                     Can I perform community service for two CAPP contracts,
                                                     concurrently?


                                                     How many days do I have to complete my community service
                                                     hours?


                                                     Can CAPP provide a DMV hold release due to Los Angeles
                                                     Parking Citations?


                                                     Where can I do my community service?


                                                     What is a service provider (SP)?


                                                     What is a family solution center (FSC)?


                                                     Do I have to be the registered owner of a vehicle to do community
                                                     service?


                                                     If I am undocumented, can I participate in CAPP?


https://ladotparking.org/operations-support/capp-info/                                                                                 2/3
6/27/22,Case
        2:13 PM2:21-cv-06841-JGB-SP                      Document  71-2
                                                            Community        Filed
                                                                      Assistance     06/29/22
                                                                                 Parking            Page 22
                                                                                         Program Information     of 37 Page ID #:699
                                                                                                             - LADOT

                                                     Does CAPP help with housing?


                                                     Do I need a HMIS # to enroll into CAPP?


                                                     If I am already working with a service provider, can I do my
                                                     community service with them?


                                                     Does CAPP prevent boot and/or tows?


                                                     CAPP Poster


                                                     Service Provider Forms


                                                     Map of Service Providers


                                                     Service Provider Training


                                                     Exit CAPP Survey



                                             For more information email us at Ladot.capp@lacity.org or call (213) 978-4400.




https://ladotparking.org/operations-support/capp-info/                                                                                 3/3
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                         EXHIBIT G
     Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 24 of 37 Page ID #:701

                   Moving Los Angeles Forward

Parking Violations Bureau
(pvb_home.html)


Moving Los Angeles Forward

(pvb_home.html)

Parking Violations
Bureau                                                                                                 MENU
   How can we help you?

   1 866 561 9742
   24 Hour Customer Care Hotline
   Parking Permit Hotline:

   1 310 843 5936
   9am to 5pm




Home (pvb_home.html) > Installment Payment Plan (IPP)



Installment Payment Plan (IPP)
Starting July 1, 2018, payment plans are available for indigent and eligible low-income motorists whose
financial situation qualifies them under the guidelines in the Federal Register by the United States
Department of Health and Human Services under the authority of paragraph (2) of Section 9902 of Title 42
of the United States Code. Qualified individuals must fall within the monthly income of 150% or less of the
current poverty guidelines, and/or receive public assistance benefits.


Eligible low-income motorist may qualify for one of three available installment payment plans:


    1. The General Installment Payment Plan

           a. Motorist may enroll at any point during the citation lifecycle.

           b. The amount due can be paid in installments over a 3-month period with a first installment of
              60% of the total due, followed by two installments of 20% of the total remaining.


    2. The Extended installment plan for motorist with under $500 in base fines.
     Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 25 of 37 Page ID #:702
    3. The Extended Plus installment plan for motorist with $500 and more in base fines.


   For the Extended and Extended Plus plans,


    a. There is a $5 processing fee to enroll in these plans.

    b. Motorist may enroll at any point during the citation lifecycle.

    c. If the citations are over this time limit and the vehicle is on DMV hold, a motorist may still apply for
      the plans for a one-time only exception and an additional $5 late fee will be assessed.

    d. There is a minimum payment of $20 per month and maximum installment of 24 months.


Installment Payment Plans do NOT cancel the fine. It simply provides some flexibility to the motorists and
allows the total amount due to be paid in installments over time.

You will be required to provide detailed income information as part of your IPP request. The PVB will
consider all forms of income, while determining your eligibility for the IPP.

A request for an IPP can be made by:


       Telephone (customer_care_hotline.html)

       Mail (correspondence_by_mail.html) a completed
       IPP Application form (ipp_income_guidelines.pdf) form




      CONTEST A CITATION




                                   Pay a Parking Citation(payment.htm)
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 26 of 37 Page ID #:703

                       Request an Initial Review(contest.htm)




                       Request a Hearing(adminhear.htm)




                       View
                       Photos
                       of your
                       Parking (https://wmq.etimspayments.com/pbw/include/vpportal/la/login_page.jsp)
                       Citation
                       or Track
                       Status




REPORT A PROBLEM




                       An Abandoned Vehicle(1_800.htm)




                       Broken Parking Meters(parkingmeters.htm)
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 27 of 37 Page ID #:704



                       Damaged Signs(sign.htm)




                       Faded Curb Zones(curb.htm)




                       Submit Other Complaints(complaintLinks.htm)




FIND SERVICES




                       Parking Permits - Apply or Renew(permit.htm)




                       Release a Booted or Towed Vehicle(boot.htm)
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 28 of 37 Page ID #:705




                       Find a Public Service Center(service.htm)




                       Request Pre-Payment Waiver(ticket_contest.htm)




                       Participate in a Fleet Program(fleet.htm)




                       Request an Installment Payment Plan(ticket_ipp.htm)




                       Search for Unclaimed Property(refund.html)
      Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 29 of 37 Page ID #:706




   Los Angeles Parking Violations Bureau

   Connect with LADOT through social media


          (https://twitter.com/LADOTofficial)                             (https://www.facebook.com/ladotofficial)
   (https://plus.google.com/118082682853848625363/posts)
   (https://instagram.com/ladotofficial/)                            (https://www.youtube.com/user/LADOT2012)
   FAQS (faq.htm)
   Download Forms (forms.htm)
   Links (links.htm)
   Contact Information (phone.htm)
   Disclaimer (disclaimer.html)
   How can we help you?

   1 866 561 9742
   24 Hour Customer Care Hotline



   As a covered entity under Title II of the Americans with Disabilities Act, the City of Los Angeles does not discriminate on the basis of
   disability and, upon request, will provide reasonable accomodation to ensure equal access to its programs, services and activities. Sign
   language interpreters, communication access real-time transcription, assistive listening devices, or other auxiliary aids and/or services may
   be provided upon request. To ensure availability, you are advised to make your request at least 72 hours prior to the meeting you wish to
   attend. Due to difficulties in securing sign language interpreters, five or more business days' notice is strongly recommended.



   Privacy Policy (privacy_policy.html)

How can we help you?

1 866 561 9742
24 Hour Customer Care Hotline


FAQS (faq.htm)
Download Forms (forms.htm)
Links (links.htm)
Contact Information (phone.htm)
Disclaimer (disclaimer.html)



Los Angeles Parking Violations Bureau


Connect with LADOT through social media
      Case 2:21-cv-06841-JGB-SP Document 71-2
      (https://twitter.com/LADOTofficial)      Filed 06/29/22 Page 30 of 37 Page ID #:707
                                           (https://www.facebook.com/ladotofficial)
(https://plus.google.com/118082682853848625363/posts)
(https://instagram.com/ladotofficial/)                            (https://www.youtube.com/user/LADOT2012)


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ensure availability, you are advised to make your request at least 72 hours prior to the meeting you wish to attend. Due to difficulties in securing
sign language interpreters, five or more business days' notice is strongly recommended.


Privacy Policy (privacy_policy.html)
Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 31 of 37 Page ID #:708




                         EXHIBIT H
   Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 32 of 37 Page ID #:709

                                                                                                             IPP and ELP
                          CITY OF LOS ANGELES
             APPLICATION FOR AN INSTALLMENT PAYMENT PLAN
GUIDELINES
Motorists who meet income eligibility requirements may be able to enroll citations in an installment payment plan (IPP). These plans
allow for the payment of open citations over the course of several months. Motorists who owe $500 or less in base fines may also be
eligible to enroll in an extended IPP that allows for the removal of penalties from the citations while the plan is active and provides a
longer period to pay the installments. Your eligibility for this plan will be determined when you have returned this application along
with the supporting documents detailed below.
Individuals must qualify using one of the following eligibility criteria:

Eligibility Criteria # 1: Income
Applicants must meet the guidelines in the Federal Register by the United States Department of Health and Human Services under
the authority of paragraph (2) of Section 9902 of Title 42 of the United States Code. Qualified individuals must fall within the
monthly income of 150% or less of the current poverty guidelines, as listed below:


        # of Persons in Household                2022 Monthly Guidelines                    2022 Annual Guidelines

                    1                                       $1,699                                    $20,385
                    2                                       $2,289                                    $27,465
                    3                                       $2,879                                    $34,545
                    4                                       $3,469                                    $41,625
                    5                                       $4,059                                    $48,705
                    6                                       $4,649                                    $55,785
                    7                                       $5,239                                    $62,865
                    8                                       $5,829                                    $69,945

Eligibility Criteria #2: Proof of Public Benefits
    •     Supplemental Security Income (SSI) and State Supplementary Payment (SSP)
    •     California Work Opportunity and Responsibility to Kids Act (CalWORKs) or a federal Tribal Temporary
          Assistance for Needy Families (Tribal TANF) grant program
    •     Supplemental Nutrition Assistance Program or the California Food Assistance Program
    •     County Relief, General Relief (GR), or General Assistance (GA)
    •     Cash Assistance Program for Aged, Blind, and Disabled Legal Immigrants (CAPI)
    •     In-Home Supportive Services (IHSS)
    •     Medi-Cal


Eligibility Criteria #3: Homeless Management Information System (HMIS) participant
    • If you are registered in HMIS, please provide your HMIS Identification Number, which will be verified.

                           Mail the completed application found on the reverse side to:
                                                    Parking Violations Bureau
                                                         P.O. Box 30420
                                                     Los Angeles, CA 90030
                                                        1 (866) 561-9742

                                                                                                                                   01/22
        Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 33 of 37 Page ID #:710

                                                                                                             IPP and ELP
                APPLICATION FOR AN INSTALLMENT PAYMENT PLAN
  Instructions: Please fill out the application below completely. Attach supporting documentation along with your submission. Any
  missing information or documents may result in the denial of your request.

    First Name

    Last Name

    Street Address

    City, State, Zip

    Phone #                                                                     License Plate
    Citation Number(s):




  Please check the eligibility criteria you are using (choose one):
  ___      Criteria # 1: Income – State Number of Persons in Household: __________ Documentation
           Required – Copies of one of the following:
      □ Proof of income from a pay stub or another form of proof of earnings, such as a bank statement, that shows that applicant
           meets the income criteria.
        □ Most recent W-2
  ___       Criteria #2: Public Benefits – Documentation Required – Copies of an electronic benefits card or another card, subject to
            review and approval by the processing agency, of proof of applicant receiving one of the following benefits:
        □ Supplemental Security Income (SSI) and State Supplementary Payment (SSP)
        □ California Work Opportunity and Responsibility to Kids Act (CalWORKs) or a federal Tribal Temporary Assistance for
            Needy Families (Tribal TANF) grant program
        □   Supplemental Nutrition Assistance Program or the California Food Assistance Program
        □   County Relief, General Relief (GR), or General Assistance (GA)
        □   Cash Assistance Program for Aged, Blind, and Disabled Legal Immigrants (CAPI) In-
        □   Home Supportive Services (IHSS)
        □   Medi-Cal
  ___       Criteria #3: Homeless Management Information System (HMIS) Identification Number
            Please write the number here: ________________________________________________

            Birth date __ __ / __ __ / __ __ __ __ (MM/ DD/ YYYY)
            If you are experiencing homelessness and are interested in completing community service in-lieu of payment, please inquire
            about the Community Assistance Parking Program (CAPP) or visit https://ladotparking.org/operations-support/capp-info/.
  PLEASE READ AND SIGN: I declare under penalty of making a false declaration that I am authorized to make this
  statement, and to the best of my knowledge it is a true, correct, and complete statement made in good faith.


SIGNATURE: _____________________________________                        DATE:




                                                                                                                                 01/22
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                          EXHIBIT I
   Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 35 of 37 Page ID #:712
       Sec. 500. Creation and Management of Departments.

  (a) There shall be the following departments each of which shall be under the control and management of a board of commissioners
that shall be the head of the department:

 Fire
 Fire and Police Pensions
 Library
 Los Angeles City Employees’ Retirement System
 Police
 Public Works
 Recreation and Parks

   (b) There shall be the following departments each of which shall be under the control and management of a chief administrative
officer, who shall be the head of the department:

 City Planning
 Personnel

  (c) The phrase “departments having control of their own special funds” and “departments which have control of definite revenue or
funds” and other substantially equivalent terms used in the Charter shall mean the departments of Fire and Police Pensions, Los Angeles
City Employees’ Retirement System, Library, Recreation and Parks, and the Proprietary Departments.
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                          EXHIBIT J
  Case 2:21-cv-06841-JGB-SP Document 71-2 Filed 06/29/22 Page 37 of 37 Page ID #:714
                                                                   ARTICLE 1

                                             CREATION OF THE DEPARTMENT

              Section
              22.480 Designation of the Department.



       Sec. 22.480. Designation of the Department.

  There is hereby created a Department in City government known as the Department of Transportation, hereinafter referred to as the
“Department.”

                                                                        SECTION HISTORY

              Added by Ord. No. 151,832, Eff. 2-10-79. Oper. 2-25-79.
